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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

LAZAR MACOVSKI, Individually and On        Case No. 1:20-cv-02581
Behalf of All Others Similarly Situated,
                                           Honorable Matthew F. Kennelly
                          Plaintiff,

             v.

GROUPON, INC., RICH WILLIAMS, and
MELISSA THOMAS,

                          Defendants.




  LEAD PLAINTIFF’S UNOPPOSED MOTION FOR: (I) PRELIMINARY APPROVAL
  OF CLASS ACTION SETTLEMENT; (II) CERTIFICATION OF THE SETTLEMENT
          CLASS; AND (III) APPROVAL OF NOTICE OF SETTLEMENT
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       Court-appointed Lead Plaintiff Fadi E. Rahal hereby respectfully moves the Court for an

Order: (i) preliminarily approving the proposed settlement with Defendants Groupon, Inc., Rich

Williams, and Melissa Thomas; (ii) certifying a settlement class as provided for in the

Stipulation and Agreement of Settlement dated June 24, 2022; (iii) approving the form and

method for giving notice to members of the settlement class; and (iv) scheduling a final approval

hearing. Defendants do not oppose the relief requested by this motion.

       The motion is based on this motion; the memorandum of law in support thereof; the

Declaration of Leanne H. Solish, Esq. in Support of Lead Plaintiff’s Unopposed Motion for: (I)

Preliminary Approval of Class Action Settlement, (II) Certification of the Settlement Class, and

(III) Approval of Notice of Settlement; all exhibits thereto; the [Proposed] Order Preliminarily

Approving Settlement and Providing for Notice; all pleadings and papers filed herein; arguments

of counsel; and any other matters properly before the Court.

Dated: June 27, 2022                            Respectfully Submitted,

                                                GLANCY PRONGAY & MURRAY LLP

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                                      PROOF OF SERVICE

        I, the undersigned say:

        I am not a party to the above case and am over eighteen years old.

        On June 27, 2022, I served true and correct copies of the foregoing document, by posting

the document electronically to the ECF website of the United States District Court for the

Northern District of Illinois, for receipt electronically by the parties listed on the Court’s Service

List.

        I affirm under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed on June 27, 2022.




                                                      s/ Leanne H. Solish
                                                      Leanne H. Solish
